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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  DER SECURITY CORP,                                 Case No. 25-cv-00764-VC
                 Plaintiff,
                                                     ORDER REQUESTING
          v.                                         SUPPLEMENTAL LETTER BRIEFS
  ENETRICS LLC, et al.,                              Re: Dkt. No. 51
                 Defendants.



       The defendants’ arguments that (1) the plaintiff has not pled the allegedly

misappropriated trade secrets with sufficient specificity and (2) the plaintiff does not differentiate

between trade secrets and patent protections will be rejected in a written order to follow. As to

the defendants’ argument that California law, not Delaware law, should apply: Why does the

Court need to decide at the motion-to-dismiss stage whether California’s or Delaware’s trade

secret statute applies? Would it change anything that happens between now and summary
judgment? The parties are ordered to submit letter briefs not to exceed 2 pages on this issue.

Those briefs should be filed by Wednesday, March 19, at 5:00 p.m.

       IT IS SO ORDERED.

Dated: March 18, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
